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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA

                              Alexandria Division

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                                    )
UNITED STATES OF AMERICA,           )
                                    )
      vs.                           )     Case No. 1:18-cr-89 (TSE)
                                    )
JERRY CHUN SHING LEE,               )
                                    )
      Defendant.                    )
____________________________________)


 DEFENDANT’S RESPONSE TO THE GOVERNMENT’S IN CAMERA UNDER SEAL
    NOTICE PURSUANT TO CIPA SECTION 5(b) 6(a) and 6(b) OF OBJECTIONS
   CONCERNEING PAARTICULARITY OF NOTICE OF USE RELEVANCE AND
             ADMISSIBILITY OF CLASSIFIED INFORMATION
